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  STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

  0_ Valuation of Security                0_ Assumption of Executory Contract or Unexpired Lease                           0 Lien Avoidance




                                                                                                                      Last revised: August 1, 2020
                                                       UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF NEW JERSEY

  In Re: Robert Forester                                                     Case No.:

  Debtor(s)                                                                  Judge: ___________

                                                             Chapter 13 Plan and Motions

                           [X] Original                      Modified/Notice Required

                               Motions Included              Modified/No Notice Required             Date:   12/15/2022

                                                   THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                    CHAPTER 13 OF THE BANKRUPTCY CODE
                                                         YOUR RIGHTS WILL BE AFFECTED
  You should have received from the court a separate Notice of the Hearing on Confirmation of Plan , which contains the date of the
  confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You
  should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any
  motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim
  may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may be granted without
  further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may confirm this plan, if there are
  no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien
  avoidance or modification may take place solely within the chapter 13 confirmation process. The plan confirmation order alone will avoid or
  modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a lien based on value of the collateral
  or to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a timely objection and appear at the
  confirmation hearing to prosecute same.

  The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan includes each of the
  following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be ineffective if set out later in the plan.


  THIS PLAN:
     DOES        DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH IN
  PART 10.
      DOES    DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
  RESULTS IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7,
  IF ANY.
    DOES     DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
  MOTIONS SET FORTH IN PART 7, IF ANY.



  Initial Debtor(s)' Attorney: RAL___                              Initial Debtor: RAF___                     Initial Co-Debtor: ___
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    Part 1: Payment and Length of Plan

         a. The debtor shall pay $250.00 per Month to the Chapter 13 Trustee, starting on            01/01/2023 for approximately 21 months and
         then $1,500.00 per month for 39 months.
         b. The debtor shall make plan payments to the Trustee from the following sources:
                         Future earnings

                         Other sources of funding (describe source, amount and date when funds are available):



          c. Use of real property to satisfy plan obligations:
                        Sale of real property
                          Description: ____________________
                          Proposed date for completion: ____________________
                       Refinance of real property:
                          Description: ____________________
                          Proposed date for completion: ____________________
                       Loan modification with respect to mortgage encumbering property:
                          Description: ____________________
                          Proposed date for completion: ____________________
         d.        The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

         e.        Other information that may be important relating to the payment and length of plan:




    Part 2: Adequate Protection                 None

         a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter 13 Trustee and
         disbursed pre-confirmation to ______________________________ (creditor).
         b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the debtor(s) outside the
         Plan, pre-confirmation to: ______________________________ (creditor).


    Part 3: Priority Claims (Including Administrative Expenses)

         a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

                              Creditor                                     Type of Priority                         Amount to be Paid

  CHAPTER 13 STANDING TRUSTEE                                      ADMINISTRATIVE                      AS ALLOWED BY STATUTE

  ATTORNEY FEE BALANCE                                             ADMINISTRATIVE                      BALANCE DUE: $2,000.00

  DOMESTIC SUPPORT OBLIGATION                                                                          $0.00

  New Jersey Division of Taxation                                  Tax Obligation                      Unknown

  Internal Revenue Service                                         Tax Obligation                      $18,915.10

         b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount: Check one:
              None

            The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
         governmental unit and will be paid less than the full amount of the claim pursuant to 11 U.S.C.1322(a)(4):

        Creditor                    Type of Priority                        Claim Amount                             Amount to be Paid




    Part 4: Secured Claims

   a. Curing Default and Maintaining Payments on Principal Residence
       NONE


   The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor shall pay
   directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:
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                              Collateral or Type
                                                       Document           Page 3Amount
                                                              Interest Rate on
                                                                                 of 6to be Paid to Regular Monthly Payment
         Creditor                                    Arrearage
                                   of Debt                                Arrearage             Creditor (In Plan)                 (Outside Plan)

  Select Portfolio
                             7 Ruth Court           $14,043.96 0.00%                     $14,043.96                      $2,612.00
  Servicing, Inc.

  Mazda Finance              2018 Mazda CX-9        $477.69        0.00                  $ 477.69                        $477.69




   b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
       NONE


   The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor will pay directly
   to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

               Collateral or Type of                   Interest Rate on         Amount to be Paid to Creditor (In    Regular Monthly Payment (Outside
  Creditor                             Arrearage
                       Debt                               Arrearage                          Plan)                                Plan)




   c. Secured claims excluded from 11 U.S.C. 506:
       NONE


   The following claims were either incurred within 910 days before the petition date and are secured by a purchase money security interest in
   a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition date and secured by a purchase
   money security interest in any other thing of value:

   Name of Creditor       Collateral   Interest Rate    Amount of Claim           Total to be Paid Through the Plan Including Interest Calculation




   d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments
       NONE


   1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured creditor shall be paid
   the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as stated. The portion of any allowed claim that exceeds
   that value shall be treated as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an unsecured
   claim.
                                             NOTE: A modification under this Section ALSO REQUIRES
                                            the appropriate motion to be filed under Section 7 of the Plan.

                           Scheduled      Total Collateral       Superior       Value of Creditor Interest in    Annual Interest     Total Amount to be
  Creditor Collateral
                             Debt             Value               Liens                  Collateral                  Rate                   Paid




  2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim shall discharge the
  corresponding lien.

  e. Surrender
       NONE


  Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the stay under 11 U.S.C
  1301be terminated in all respects. The Debtor surrenders the following collateral:

    Creditor            Collateral to be Surrendered                 Value of Surrendered Collateral                  Remaining Unsecured Debt




   f. Secured Claims Unaffected by the Plan      NONE
   The following secured claims are unaffected by the Plan:



  g. Secured Claims to be Paid in Full Through the Plan:            NONE

  Creditor               Collateral                Total Amount to be Paid Through the Plan
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    Part 5: Unsecured Claims
        NONE



         a. Not separately classified allowed non-priority unsecured claims shall be paid:
                        Not less than                      to be distributed pro rata

                        Not less than            percent

                        Pro Rata distribution from any remaining funds
        b. Separately classified unsecured claims shall be treated as follows:

      Creditor                          Basis of Separate Classification                             Treatment                Amount to be Paid




    Part 6: Executory Contracts and Unexpired Leases
        NONE



   (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property leases in this Plan.)
   All executory contracts and unexpired leases are rejected, except the following, which are assumed:

   Creditor      Arrears to be Cured in Plan                Nature of Contract or Lease              Treatment by Debtor         Post-Petition Payment




    Part 7: Motions            NONE

   NOTE: All plans containing motions must be served on all affected creditors, together with local form, Notice of Chapter 13 Plan
   Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of Service must be filed with the Clerk of Court
   when the plan and transmittal notice are served.


   a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).               NONE

   The Debtor moves to avoid the following liens that impair exemptions:


                                                                                                                            Sum of All
                                                                                                           Amount of                          Amount of
                               Nature of                              Amount of         Value of                            Other Liens
   Creditor                                        Type of Lien                                            Claimed                            Lien to be
                               Collateral                             Lien              Collateral                          Against the
                                                                                                           Exemption                          Avoided
                                                                                                                            Property




   b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
        NONE


  The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with           Part 4 above:

                           Schedule         Total Collateral      Superior        Value of Creditor’s Interest in          Total Amount of Lien to be
  Creditor Collateral
                             Debt               Value              Liens                    Collateral                            Reclassified




   c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured.                   NONE
   The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to            void liens on collateral consistent
   with Part 4 above:


  Creditor Collateral Scheduled Debt Total Collateral Value              Amount to be Deemed Secured             Amount to be Reclassified as Unsecured
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    Part 8: Other Plan Provisions

         a. Vesting of Property of the Estate
                 [X] Upon confirmation
                       Upon discharge

         b. Payment Notices
         Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor
         notwithstanding the automatic stay.
         c. Order of Distribution
          The Trustee shall pay allowed claims in the following order:
                 1) Ch. 13 Standing Trustee commissions
                 2) Priority Administrative Expenses___________________________________________________________
                 3) Secured Claims___________________________________________________________
                 4) Other Priority Claims___________________________________________________________
                 5) General Unsecured Claims
         d. Post-Petition Claims
         The Trustee       is, [X] is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the amount filed by
         the post-petition claimant.


   Part 9: Modification             NONE


         NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in accordance with
         D.N.J. LBR 3015-2.
         If this Plan modifies a Plan previously filed in this case, complete the information below.
         Date of Plan being Modified: _________________________.

   Explain below why the plan is being modified:                              Explain below how the plan is being modified:



          Are Schedules I and J being filed simultaneously with this Modified Plan?           Yes         No


   Part 10: Non-Standard Provision(s): Signatures Required

   Non-Standard Provisions Requiring Separate Signatures:
       NONE

       Explain here:


   Any non-standard provisions placed elsewhere in this plan are ineffective.




   Signatures



   The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.
   By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify that the wording
   and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and Motions, other than any non-standard
   provisions included in Part 10.


  I certify under penalty of perjury that the above is true.
  Date: 12/15/2022                                                                               /s/ Robert Forester
                                                                                                 Debtor
   Date: 12/15/2022                                                                              /s/
                                                                                                 Joint Debtor
  Date: 12/15/2022                                                                               /s/ Robert Loefflad
                                                                                                 Attorney for the Debtor
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